Filed 06/28/19                                                Case 19-12720                                           Doc 8



                                         UNITED STATES BANKRUPTCY COURT
                                       FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                  FRESNO DIVISION

            In Re:
                                                                                                    Chapter 7
                                                                                       Case No. 19-12720-B-7
            MATHEW J MURILLO, Debtor,
            NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER, Creditor,



                       NOTICE OF APPEARANCE AND REQUEST TO RECEIVE NOTICES



                      Comes now BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP pursuant to

            Bankruptcy Rules 2002, 9007, 9008 and 9010, and files this Notice of Appearance and

            Demand for Service of Papers as Counsel for NATIONSTAR MORTGAGE LLC D/B/A MR.

            COOPER, party in interest in the captioned proceedings.

                      Request is hereby made that all notices given or required to be given in this case and in

            any cases consolidated herewith, and all papers served or required to be served in this case and

            in any cases consolidated herewith, be given to and served upon the undersigned attorneys at

            the address and telephone number as follows:

                                BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
                                           4004 Belt Line Rd Ste. 100
                                             ADDISON, TX 75001
                                                (972) 341-0500

                      This request encompasses all notices and pleadings including, without limitation,

            notices of any orders, motions, pleadings or requests, formal or informal applications,

            disclosure statement or plan of reorganization or any other documents brought before this

            Court in this case.

                           This Notice of Appearance shall not be construed as authorization to serve counsel


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            for NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER with any summons and

            complaint or any service of process under Bankruptcy Rule 7001, et. seq. The undersigned

            firm will not accept service of process in any adversary case for NATIONSTAR MORTGAGE

            LLC D/B/A MR. COOPER.

                      BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP, additionally requests that

            the Debtor and the Clerk of the Court place the name and address of the undersigned attorney

            on any mailing matrix to be prepared or existing in the above-numbered case, and on any list

            of creditors to be prepared or existing in the above-numbered bankruptcy case.


                                                         BARRETT DAFFIN FRAPPIER
                                                         TREDER & WEISS, LLP


                                                   BY: /s/ EDWARD A. TREDER                     06/28/2019
                                                       EDWARD A. TREDER
                                                       CA NO. 116307
                                                       BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
                                                       20955 PATHFINDER ROAD SUITE 300
                                                       DIAMOND BAR, CA 91765
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                                                       ATTORNEY FOR CREDITOR




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                                                    CERTIFICATE OF SERVICE

                  I hereby certify that on June 28, 2019, a true and correct copy of the Notice of Appearance

           and Request for Duplicate Notice was served via electronic means as listed on the Court's ECF

           noticing system or by regular first class mail to the parties listed on the attached list.



                                                              Respectfully submitted,

                                                              BARRETT DAFFIN FRAPPIER
                                                              TREDER & WEISS, LLP


                                                              BY: /s/ EDWARD A. TREDER                     06/28/2019
                                                                  EDWARD A. TREDER
                                                                  CA NO. 116307
                                                                  BARRETT DAFFIN FRAPPIER TREDER &
                                                                  WEISS, LLP
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           BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

           DEBTOR:
           MATHEW J MURILLO
           4809 E. LEISURE AVENUE
           FRESNO, CA 93727

           MATHEW J MURILLO
           4809 EAST LEISURE AVENUE
           FRESNO, CA 93727

           DEBTOR'S ATTORNEY:
           PRO SE

           TRUSTEE:
           PETER L. FEAR
           P. O. BOX 28490
           FRESNO, CA 93729




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